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INDIAN LEADER PLAN OF OPERATIONS                                          1




           The Indian Leader Association 2021-2022 Plan of Operations



                          The Indian Leader Association

                        Haskell Indian Nations University!
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INDIAN LEADER PLAN OF OPERATIONS                                                                   2


Article 1: Name

The Indian Leader Association.

Article 2: Purpose

       Section 1: General Purpose

       The purpose of the Indian Leader Association is to provide a media outlet to serve the
       Haskell Indian Nations University campus and the local community by connecting
       mainstream or local news and cultural issues across Indian Country to the Haskell
       campus and community. The Indian Leader, the oldest Native American student
       newspaper, is an independent student media outlet of Haskell Indian Nations University
       and will also serve the student body by communicating important information that
       impacts student academics and campus life.

       Section 2: Responsibilities

       The Indian Leader will produce a minimum (5) issues per semester unless authorized by
       the Indian Leader Association Executive Board (consisting of consensus ruling) and
       approved by the Indian Leader Association Advisor.

       Section 3: Goals

       The goals of the Indian Leader Association will be to seek the truth and report the facts
       for the betterment of Haskell Indian Nations University and its students, to promote
       Native American issues and provide an outlet for those stories to be told, and provide
       Haskell Indian Nations University with accurate reporting while maintaining awareness
       of journalism ethics and standards.

Article 3: Faculty Advisor

       Section 1: Appointment

       To assist students in the publishing of The Indian Leader newspaper, Haskell Indian
       Nations University may appoint one faculty advisor at the beginning of each academic
       year based on a nominee selected by majority vote of The Indian Leader Association.
       Should Haskell Indian Nations University find a nominee unfit for the role of Faculty
       Advisor, they shall provide a written objection to the Indian Leader Association along
       with a request to select another nominee.

       Section 2: Role
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INDIAN LEADER PLAN OF OPERATIONS                                                                  3


      The faculty advisor may freely advise and instruct student editors and reporters in the
      subject of journalism and relevant professional standards, comment and critique the
      product of student journalists, and offer fiscal and technological guidance to the Indian
      Leader Association. The advisor may provide what assistance is needed to produce the
      Indian Leader newspaper. A faculty advisor may make non-binding recommendations to
      the student editors, which the student editors may, at their sole discretion, take into
      consideration in the free exercise of the independent editorial judgment. Although a
      faculty advisor of the Association may freely offer advice or assistance to the student
      members of the Association, neither the faculty advisor nor other Haskell officers or
      employees have the right to censor, modify in any way, the content the Association
      produces.

      Section 3: Removal

      Any Faculty Advisor may be removed at the discretion of Haskell Indian Nations
      University.

Article 4: Membership

      Section 1: Staff Writer

             Paragraph 1: Definition

             Staff Writers are the voting membership of the Indian Leader Association.

             Paragraph 2: Eligibility

             Eligibility to be a Staff Writer requires (a) current enrollment at Haskell Indian
             Nations University, (b) must inform the Association, orally or in writing, of an
             intention to become a member of the Association.

             Paragraph 3: Revoking Membership

             In the event that any member fails to attend three consecutive meetings of the
             Association without an excused absence, that person may be removed from the
             membership rolls of the Association by majority vote. Meetings shall be
             considered based on the requirements of Article 5 regardless of where attendance
             meets quorum.

      Section 2: Non-members

      Non-members may still contribute to the newspaper and be compensated by the Indian
      Leader Association, but will not retain the voting rights of Staff Writers. Non-member
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INDIAN LEADER PLAN OF OPERATIONS                                                                     4


       contributions will be compensated but are still required to be a current student at Haskell
       Indian Nations University.

Article 5: Meetings

       Section 1: First Meeting of the Semester

       At the beginning of each semester, the Association shall decide upon a day, time and
       place for such regular weekly meetings. Once the day, time and place has been decided
       by the Association, a notice of such will properly been conveyed to the public, and no
       further notice shall be required for the Association to conduct business at such regular
       weekly meetings.

       Section 2: Weekly Meetings

       Meetings of the Association shall be held weekly and will be open to all Haskell students
       and to the public.

       Section 3: Non-Weekly Meetings

       Any meeting of the Association not held on the day, time and place of the regular weekly
       meeting may be properly convened only upon two days’ prior written notice. Such notice
       shall be made to the Association by posting an announcement.

Article 6: Voting

       Section 1: Quorum

       Quorum shall be established by the majority of Staff Writers being in attendance.
       Additionally, a quorum to vote to remove Staff Writers according to Article 4, Section 1,
       Paragraph 3 shall not include those up for removal in determining a majority.

Article 8: Editorial Board

       Section1: Definition

       The Editorial Board of the Indian Leader Association shall include an Editor-In-Chief,
       Assistant Editor, Distribution Manager, and Secretary/Treasurer.

       Section 2: Eligibility

       Staff Writers are eligible for Editorial Board elections . Decisions made at duly convened
       meetings of the Association are binding on members.

       Section 3: Term
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INDIAN LEADER PLAN OF OPERATIONS                                                                5


     Each position of the Editorial Board shall serve a term equivalent to one academic year.
     All terms will be up for re-election on the first convened meeting of the Fall semester.

     Section 4: Duties

            Paragraph 1: Editor-In-Chief

            The Editor-In-Chief is responsible for (a) directing and supervising all Indian
            Leader functions, (b) setting semester deadlines with faculty advisor, (c)
            scheduling and conducting weekly staff meetings, (d) updating dummy sheet for
            layout, (e) reading all copy before web and print publication, (f) checking stories
            for legal and ethical concerns, (g) keeping track of Freedom of Information Act
            Requests (h) sending final copies to printer, (i) reviewing and approving payroll,
            (j) managing administrative accounts (e.g. website), and (k) representing The
            Indian Leader on campus and in the community. The Editor-In-Chief will also be
            President of the Haskell NAJA Student Chapter. The Editor may not vote during
            business meetings and will only vote during a tie breaker.

            Paragraph 2: Assistant Editor

            The Assistant Editor is responsible for (a) supporting the Editor in all Indian
            Leader functions and tasks, (b) performing second reads on all copy before web
            and print publication, (c) designing newspaper layout, (d) supports Editor-In-
            Chief with administrative accounts (e.g. website), (f) facilitate the fundraising
            opportunities for the Haskell NAJA Student Chapter as they arise, and (g)
            Responsible for any Editor duties in his/her absence.

            Paragraph 3: Distribution Manager

            The Distribution Manager manages all distribution of Indian Leader Association
            content to the public. Responsibilities involve (a) managing social media and
            website accounts, (b) posting and monitoring digital content, and (c) coordinating
            circulation and newspaper delivery on campus when classes are held on campus.
            Locations for Distribution – Navarre Hall: Post office area, student bank area,
            admissions, Haskell Foundation offices, the President’s office, the Registrar’s
            office, the VP of Academics office, and financial aid; Coffin Sports complex;
            Sequoyah Hall: The Student Success Center, Dean’s office (across the hall from
            SSC) math department (north end of building), and science department (middle,
            east side); Ross Hall: humanities office, tables on both sides of building, Dean’s
            office, and offices in far NE corner of building; Pontiac Hall; Parker Hall-Lobby
            area, department of education offices, and AIS wing; Tam-i-nend Hall;
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INDIAN LEADER PLAN OF OPERATIONS                                                              6


             Winnemucca Hall; Blalock Hall; Roe Cloud Hall; Curtis Hall; Tommaney Hall:
             including technology center and common areas; Blue Eagle Hall; Pocahontas
             Hall; Minoka Hall; Winona Hall; Stidham Union; Osceola-Keokuk Hall;
             Tecumseh Hall-Student Activities and Alumni Association room downstairs.

             Paragraph 4:

             The Secretary/Treasurer will work with the Editor to help keep the Indian Leader
             Association on budget by maintaining financial records as well as providing
             accurate accounts of each meeting. Secretary/Treasurer responsibilities includes
             (a) providing financial report at each meeting, (b) providing meeting minutes
             (minutes should be prepared and posted to the Indian Leader Google drive within
             2 days of each meeting), (c) maintaining Indian Leader Gmail providing staff with
             a report of the activity of each at meetings or as needed, (d) maintaining Google
             drive documents, (e) receiving and tracking advertising payments, and (f)
             managing payroll. Payroll management as follows (a) The Editor will submit a
             final copy of the newspaper to Secretary/Treasurer upon submission to printer, (b)
             Secretary/Treasurer will submit prepared payroll to Editor or Assistant Editor for
             approval (c) Once approved, Secretary/Treasurer will initiate meeting to vote on
             payroll, (d) Secretary/Treasurer will obtain Advisor’s signature and submit
             payroll to the student bank, (e) Once checks are picked up from the bank,
             Secretary/Treasurer will notify check recipients via email or Indian Leader staff
             Facebook page of where/when to get checks, (f) ensures mail is picked up from
             the post office and delivered to the Indian Leader office before each weekly
             meeting.

      Section 5: Vacancies

      If an Editorial Board member wishes to abdicate their role, they will do so in writing to
      the Indian Leader Association. Vacancies may also arise in the event the staff writers
      conduct a majority vote to impeach a member of the Editorial Board. In the event that an
      Editorial Board position becomes vacant, an election shall take place at the next Indian
      Leader Association meeting. Editorial Board members may be candidates for vacant
      positions, and if elected, nominations will continue to fill the newly vacated role(s).
      Positions resulting from vacancies will not serve a full academic year, and will come up
      for re-election on the first convened meeting of the fall semester.

Article 9: Compensation and Awards

      Section 1: Editorial Board
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INDIAN LEADER PLAN OF OPERATIONS                                                                  7


       The Editorial Board shall be compensated $50 each issues of the Indian Leader for the
       completion of their duties described in Article 8 Section 4.

       Section 2: Content

       The Indian Leader Association provides compensation for the following:

       " Articles, web or print: $0.10 per word.
       " Photos: $5.00 per published photo with the max limit of 3 per article. Rate includes
         photos published on social media. Payee must be owner of all photos provided.
       " Comics: $15 per comic strip.
       " Photo Collages: $15.00 with permission only.
        " Other social media content: $15.00 per published submission of original (this means
          created by you) creation of video, podcast, radio, audio, or infographic. Content will be
          reviewed on a case-by-case basis.
Article 10: Accounts & Property

       Section 1: Accounts

       The financial backing of the Association is kept within the Haskell Student Bank and
       must follow banking procedures of the institution. The organization must follow banking
       policies under the supervision of the Haskell Student Bank. The monetary budget must
       reflect only with supplies, events, newspapers, magazines or a direct cost of the Indian
       Leader Association and not a subsidiary group or division. The Indian Leader
       Association receives ⅓ of the Student Activity Fee which is divided among other groups
       (Student Activities ⅓ and Campus Activities Association ⅓). The money set forth toward
       the Association will be authorized for withdrawal under the supervision of the Haskell
       banking staff.

       Section 2: Use of Funds

               Paragraph 1: Direct Costs

               Funds for the operation of The Indian Leader will be used for the following:
               invoices, office supplies, payroll, campus events conducted or sponsored by The
               Indian Leader Association, and other operational expenses.

               Paragraph 2: Reimbursement
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INDIAN LEADER PLAN OF OPERATIONS                                                                   8


             Requests for reimbursement will be considered, but as a general rule, requests for
             funds should be submitted in advance through executive staff vote, recorded in
             meeting minutes, and submitted to Haskell bank for withdrawal.

             Paragraph 3: Fund Responsibilities

             The individual staff member who signs for bank withdrawals will be the
             responsible party for the full amount of funds that includes returning receipts and
             unused funds. Discrepancies will be the sole responsibility of the individual
             handling the monies. Failure to return receipts and unused funds, regardless of
             whether the individual has left campus at the close of the semester, will result in
             a hold being placed on the responsible party#s student account until funds/receipts
             are returned.

      Section 3: Property

             Paragraph 1: Use

             The Indian Leader Association will allow its active members with the use of
             equipment: cameras, voice recorders, etc. However, if the student does not return
             the property of the Indian Leader Association then the penalty amount (value of
             the equipment) will be charged to the student’s account via the Haskell Business
             Office, with the approval of the Indian Leader Association advisor(s).

             Paragraph 2: Misuse

             There will be no misuse of the equipment which is the sole property of the Indian
             Leader Association, under the supervision of the Indian Leader Executive Board.
             If there is a discrepancy of misusing equipment or the mistreatment of a fellow
             member, then the student breaking the procedures of the Association will revoke
             his/her membership (with the authority of the Editor and Assistant Editor, only)
             and will be asked not to participate the rest of the fiscal academic year.

Article 11: News Room Policy

      Section 1: Newsroom and Management Guidelines

      The publication titled “The Indian Leader Newsroom and Management Guidelines”
      (Appendix A) will be policy for The Indian Leader newspaper. The Indian Leader
      operates in the same capacity as a business; therefore, everyone will be accountable for
      following regulations and procedures.
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INDIAN LEADER PLAN OF OPERATIONS                                                                   9


       Section 2: NAJA Chapter

       The Indian Leader Association is also under the Haskell NAJA (Native American
       Journalists Association) Student Chapter. The Haskell NAJA Student Chapter allows
       each branch to use money obtained for the chapter for supplies related to each identified
       field: Indian Leader (print), Haskell News (video/multimedia).

       Section 3: Non-compliance

       If an Indian Leader Association Executive Officer does not follow the procedures of the
       Association, then a majority vote of the active members will take place (nominated by the
       Advisor, only).

Article 12: Rights & Responsibilities

       Section 1: Rights

       The Indian Leader Association is published by the students of Haskell Indian Nations
       University. The newspaper exercises their individual rights to free speech and freedom of
       the press, guaranteed by the First Amendment Rights have been expressly recognized as
       rights, which individual students enjoy who attend Bureau of Indian Affairs school in
       Part 42 of Title 25 of the Code of Federal Regulations, Students’ Rights and Due Process
       Procedures, 25 C.F.R. 42.3 (e)-(f) (1998). These basic rights have also been reaffirmed in
       Part II of the Code of Student Rights and Responsibilities of Haskell Indian Nations
       University (1998).

       Section 2: Responsibilities

       The Indian Leader Association holds responsibilities outlined in 1989 settlement
       agreement with Haskell Indian Nations University (Appendix B).

Article 13: Amendments

       Section 1: (This section intentionally left black for future amendments.)
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 INDIAN LEADER PLAN OF OPERATIONS                                          t0

                              PLAN OF OPERATIONS APPROVAL


 University Officials                              Date Approved


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Chief of Finance


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Student Senate President



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Faculty Advisor


Organization Officers

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APPENDIX A                                                                        1




                                         Appendix A



                                      The Indian Leader

                             Newsroom Policy and Management Guide




Credits: The policy and management guide is adopted from The University Daily

Kansas with permission and modified for The Indian Leader. Thanks to the Kansas

for their input and direction.
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APPENDIX A                                                                                          2


                                  The Indian Leader
                Newsroom Policy and Management Guide
Introduction
Welcome to The Indian Leader. The Indian Leader Newsroom Policy and Management Manual
is developed to help orient students, faculty, staff, and others in the management and production
of The Indian Leader.

The Indian Leader Newsroom Policy and Management Guide was approved in the Spring of
1993 by the Indian Leader Association, publishers of the Indian Leader and the Haskell
Yearbook — last updated 2020.

The Indian Leader is edited and published by students at Haskell Indian Nations University for
the purpose of promoting the free and informed debate and discussion of (1) topics of special
interest to HINU students and alumni, (2) issues of special importance to Native Americans
generally, and (3) all newsworthy topics and public issues of general interest to American
citizens. The Haskell Yearbook is edited and published by students at Haskell Indian Nations
University for the purpose of maintaining records of the previous year's events.

The Indian Leader Association is committed to improving the ability of Native Americans to
determine their own destiny by providing an open public forum in which all concerned citizens,
regardless of race, creed, color, sex, religion or national origin, might freely discuss the
important public issues of the day. The members of the Association believe that by providing a
public forum, readers and contributors alike will improve their understanding of the true meaning
of leadership, citizenship and democracy in contemporary American society through an open,
honest and fair-minded exchange of views.

Ethics and Policy
Standards of conduct for staff members of The Indian Leader are the same as those adhered to by
any responsible professional newspaper. They are outlined here as guidelines that staff members
are expected to follow. This policy manual does not describe every circumstance that could pose
a problem. It does not answer every question that might arise. Instead, it is designed to establish
general rules that editors, reporters and photographers are to use in reporting the news and
producing the newspaper. Violation of these standards can be grounds for dismissal.

Advance Viewing:
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Outside review of copy, photographs or artwork is not permitted unless approved in advance by
the editor. For some stories, such as those that involve complex scientific information, a
knowledgeable source might be asked to verify the accuracy of specific elements of the story
before it is published. An entire story should never be reviewed by someone outside The Indian
Leader staff. Check with an editor or adviser about similar situations.

Conflicts of Interest:

The first obligation of staff members is to perform their assigned The Indian Leader duties. To
do so, staff members, or anyone who writes for the The Indian Leader, must be free from any
obligation to any interest other than the public's right to the distribution of news and enlightened
opinion.

 Staff members should exercise great care before becoming involved in any political context
beyond voting. Under no circumstances may a staff member work, for pay or as a volunteer, in
political organizations or campaigns.

 If a relative or close friend is involved in any political activity, a staff member should tell the
editors and refrain from covering or making news or editorial judgments about such a campaign
or organization. Such precautions should be taken on all types of stories or photographs.

 Because of the nature of the The Indian Leader and its readership, student politics and campus
political organizations are even more likely to create the appearance of partiality than traditional
political organizations. Remember that the appearance of bias is devastating to the newspaper's
credibility as is actual bias.

Other conflicts: An Indian Leader staff member may not work as a staff member, editor or
contributor for any other publication or news service without the consent of the The Indian
Leader editor. Staff members who wish to free-lance periodically for other publications also
must seek permission from the editor. Any staff member who is found hiding his affiliation with
another publication also must seek permission from the editor. Any staff member who is found
hiding his affiliation with another publication will be dismissed.

Appearances on radio or television by The Indian Leader staff members may be permissible only
if reported in advance to the editor. Remember, however, that only the editor may talk as a
representative for The Indian Leader.

Gifts: As journalists, the obligations of staff members are clear--gather and report the news with
vigor and compassion and report it without prejudice. Staff members must not use their positions
at The Indian Leader to obtain any benefit or advantage not afforded to the public generally.
Staff members do not accept business-related gifts or favors, either at home or in the office.
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Staff members should not accept free rooms, sample equipment or goods of any kind. Staff
members may not accept free trips. Free tickets or access to events may be accepted, but only
when special arrangements for the press are necessary. The press box at sporting events is an
example. Editors are responsible for making certain that advantage is not being taken of certain
situations. Friends or guests are not allowed to use Leader passes to events. The Indian Leader
pays for tickets to entertainment events that staff members are reviewing. Books and records are
accepted only as news releases and become the property of the Leader.

Leader members should not accept free meals or drinks. This does not mean that staff member
cannot accept a cup of coffee or something that can be repaid later. Reporters should not,
however, be “wined and dined” while pursuing a story. The cost of meals incurred in the course
of gathering stories will be paid by the Leader. Generally, however, it is difficult to take accurate
and complete notes while eating.

Any travel must be approved by the editor and the Association.

When in doubt, please follow the American Society of Professional Journalists code of ethics in
the back of the booklet.

Dealing with the public
Courteous and professional treatment is afforded anyone who telephones or walks into the
newsroom.

Telephone Etiquette: When taking messages, be sure to get the correct name and phone
number.

Also include your name, the time and date the message was received. The telephone is for
business use only. Do not leave this number for personal messages to be taken by any staff
member or the faculty adviser.

Complaints: Complaints should be referred to the editor. If no editor is available, take a name
and phone number and tell the person that an editor will call back. If a complaint is in any way
abusive or if the staff member is threatened, write a short but thorough memo and give it to the
editor.

Corrections: The decision to run a correction is made by the editor. When the Leader
incorrectly has reported a story or misidentified someone in a photograph, the editor will arrange
for a correction to appear promptly. It may appear on Page 1 if the story was on Page 1.
Otherwise corrections will appear on Page 2. When talking to someone who has a complaint, do
not verify the mistake, blame anyone, agree with anything or promise anything. Do not give your
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personal opinion as to what should be done. Refer the person to those mentioned above. Any
staff member who makes a mistake requiring a correction must fill out a correction form and turn
it in to the editor.

News Tip: When readers call in with news tips or photo ideas, staff members are expected to
treat them with courtesy. The Leader encourages readers to call or to stop by the newsroom
when they have story ideas. It's a way for them to let the editors know what they want to see in
the paper, and those ideas often turn into the best stories and photos. Listen patiently to callers,
write down the tips and thank them for calling or stopping by the newsroom.

Letters Policy: The Leader accepts letters to the editor with the understanding that the editor
may edit or reject the letters. When readers bring letters to the newsroom, make sure that the
letter has a signature and a phone number.

Police News and Obituaries
Crime Stories: In crime stories, description of the incident must be attributed carefully. Police
records are protected in cases of libel, but they might be wrong nonetheless. Let readers know
where the information came from. When the Leader reports that someone has been accused of a
crime, the newspaper incurs the obligation to follow the case to trial and to its conclusion.

Suspect Identification: The Leader does not identify suspects in crime stories unless the
suspects have been charged in the court system. An arrest does not mean a suspect has been or
will be charged. Identify a person charged with a crime with age and address. Also, the term
"alleged" should be used with care. "Alleged murderer" is libelous. A suspect's race or ethnicity
should not be mentioned in a story unless the information is part of a detailed description
including age, height, weight, attire, and distinguishing characteristics.

Victim's Names: The names of juveniles, rape victims and people who have attempted suicide
are not published except in circumstances approved by the editor. Consult with the editor when
naming the victims of any traumatic event or violent crime.

Here are some guidelines that staff members should use to determine whether a victim's
name should be used.

Living or dead. Did the victim die, or is he or she still living? If the victim survived, it is
probably not a good idea to use the name, especially if it was a private individual in a common
type of traumatic event. If the victim died, it lends more weight to using the name(as in an
obituary).
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Juvenile or adult. Kansas law protects the identity of juveniles involved in criminal
proceedings. The same kind of protection should be given to juveniles involved in traumatic
events.

Prominence/public figure. Is the person well known? In what context: national, regionally or
locally? Determining whether someone is a public or private person should be done in the same
manner as it is determined for libel.

Newsworthiness/manner. Is the event newsworthy enough to justify it. Unusual circumstances
often are cited, but be careful not to sensationalize a tragic event needlessly.

Rape. As stated before, rape victim's names should not be used. Do not name the suspect of a
rape until the suspect has been charged in court.

Suicide. Generally, names should not be used in stories dealing with suicide attempts. If the
suicide was newsworthy only because it was a suicide, consider using an obituary format. Then it
is appropriate to use the victim's name.

Dealing with Sources
Staff members must identify themselves when covering any event for the The Indian Leader,
unless the editor has given approval for reporters or photographers not to disclose their identity.
To help reporters and news sources understand what information is fair to report, under what
conditions the information may be used and how that information may be obtained, complicated
news gathering practices have evolved. Even among journalists, there is disagreement about
defining these terms. Listed are some reporting procedures that The Indian Leader reporters are
expected to follow.

The Leader Policy: Our policy is for reporters never to agree to conduct an interview in any
way other than on the record, unless the editor has been consulted before the interview. There
almost always is some other way to get information. Not for attribution, off the record and
background (explained below) many times serve only to tie the hands of both the reporters and
the newspaper. Remember, unless a specific agreement is made before the interview, the
interview is on the record.

In some cases, exceptions to this policy may be justified. Again, speak to the editor for questions
about this.

On the record: All the information and name of the news source may be used in a story.
Interviews are on the record unless an agreement to the contrary is made in advance. In most
cases, reporters will not say an interview is on the record. The assumption is that if someone is
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talking to a reporter, the information is for the record. Sometimes out of courtesy, however,
reporters should explain to people who are not used to dealing with the press that all information
could be used in a story.

Anonymous Sources: This is information given to a reporter that can be published, but the
identity of the source cannot be used. For example, a district attorney might tell a reporter of
plans to move for a mistrial in a murder case. But the district attorney tells the reporter he or she
can use the information as long as the reporter identifies the source only as one close to the case.
This way the district attorney will not offend witnesses who may first learn about the move by
reading the paper.

Background: This is a difficult area. Generally, background information is intended to educate
and guide the reporter in writing a story, and the gist of the information can be used if the source
is identified. A writer should make clear for the reader that the writer is not the original source
for the information. For example, an administrative assistant might brief reporters about the
college's coming budget and the rationale behind parts of it so they will be better prepared for a
news conference or a meeting later in the week.

Reporting Standards
Report News; Do Not Make It: Leader staff members should not put themselves in situations
that result in their making news or in their altering their presentation. Leader reporters should not
ask questions during public question-and-answer forums or during public meetings, such as
faculty meetings or student senate. Ask questions after the meeting or during intermission.
Likewise, the newspaper generally should not intrude into news stories with such phrases as
"told the The Indian Leader" or "The Indian Leader has learned."

Fairness: Any viewpoint in a story must be balanced by an opposing viewpoint. This does not
mean a reporter should dig up or create controversy. But people or groups that have been
criticized in a story must have a chance to respond in the same issue. One call to obtain the other
side of an issue is rarely enough. The reporter's obligation is to present a true reflection of the
situation.

Do not tarnish the The Indian Leader's reputation by acquiring information through questionable
means. If in an extreme case the editor approves an extraordinary way to get information, the
story will explain how the information was obtained and why it was gathered that way.

Cultural Sensitivity: Be sensitive to the concerns of members of other minority groups. Realize
that not all people celebrate the same holidays or have the same values. Try to stay abreast of the
events that are going on in your sources' lives, no matter what race, religion or sex. As a forum
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for a diverse community, The Indian Leader cannot afford and will not tolerate prejudice from its
staff. Racial slurs, sexual harassment and similar discriminatory misconduct will be grounds for
dismissal.

Direct Quotes: Except for minor grammatical errors in the speech of ordinary persons,
quotations are not to be altered. The Indian Leader does correct minor errors that might
otherwise take on undue importance or cause the speaker to look foolish. Mispronunciations
rarely should be used, even for color, as they tend to make a speaker appear inarticulate. If you
want to get a direct quote and have trouble finding a source. Please contact the editor to have
arrangements made and they will be able to schedule an interview with you. If you then need
additional

Verification: In general, do not quote from news releases, other paper's stories or news
broadcasts without verifying the information or attributing it. Leader reporters are expected to
verify information in news releases and then rewrite the releases. Information from another
newspaper should be identified as being from that newspaper. Reporters should try to get
quotations directly from the source instead of quoting from prepared statements. If quotations are
taken from prepared statements, the story should say so. When covering a speech, reporters
should try to get a copy of the text to quote the speaker accurately and talk to the speaker
afterward for elaboration about specific points.

Obscenities: Obscenities and vulgarities should not be used simply to add color or humor. Use
them sparingly and only when imperative to give a full portrayal to the reader. The number of
listeners—one or two reporters as opposed to an auditorium full of people--often enters into
news judgement in questions of obscenity. The editor or assistant editor decides whether to use
questionable language.



Newsroom Management
Personnel: The editor handles all problems in the news department. Any staff member with a
complaint or scheduling conflict should talk to the editor. Suggestions are welcome.

Mail Boxes: Staff members will have mailboxes for messages and assignments. Staff members
should check their mailboxes several times a week. They also should not let papers accumulate
in their boxes.

Phones: Personal long-distance calls will not be tolerated. Making such call is grounds for
dismissal. All long-distance calls are to be logged on the out-going telephone log.
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Travel: Travel must be approved by the editor. Most travel should be authorized first by the
Indian Leader Association.

Materials: The Leader provides staff with a computer and other materials to layout the paper.
The Leader does not provide notebooks.

Office Access: Navarre Hall is open from 8-5 p.m. Staff members are expected to organize their
time to reflect these hours. If you need in the building beyond specific hours, the time needs to
be arranged i advance. This is for Leader staff and yearbook activities only.Tecumseh Hall is
open at various hours. A key to Tecumseh and to the Leader office will be available to staff at
the front desk of the library. Staff must sign keys in and out. In the event a staff member forgets
to return the key to the library the Editor or sponsor must be notified. A lost key charge of $200
will be submitted to the business office under a staff member’s account for lost keys.

Maintenance: The newsroom should be clean all the time. The public, faculty and
administrators frequently visit, and the newsroom must project every aspect of professionalism.
Reporters and editors are expected to clean up around computer terminal(s). Otherwise, loose
notebooks and belongings will be thrown away.

 Smoking is prohibited in the building. This includes the newsroom, and other offices. Keep food
and beverages away from the terminals. Staff members will be responsible for any damage they
cause to them.

Newsroom Conduct: Staff members should act as professionals in the newsroom. Less-than-
professional behavior will not be tolerated and is grounds for dismissal. Alcohol and substance
abuse will not be tolerated and is grounds for dismissal.

Newsroom Procedures
Deadlines: They must be met. The Leader reporters are to complete their assignments on
deadlines given by the editor. To meet our responsibilities, deadlines need to be staggered.
Failure to meet a deadline on schedule is grounds for dismissal.

Style: The Leader uses The Associated Press Stylebook. In addition, a Leader style guide at the
end of this pamphlet explains the newspaper's exceptions.

Datelines and Bylines: A dateline is not used on a byline unless the reporter was actually at the
place named in the dateline and provided a substantial part of the information in the article from
that area.

Staff Meetings: Staff meetings are held twice a month. Meetings should last no more than 30
minutes. The meetings are for the entire staff. Attendance is mandatory.
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Style Supplement
AIDS People do not die of AIDS; they die of complications of AIDS.

Black Use when African-American is inappropriate or inaccurate. Capitalize in all instances
when referring to people of African ancestry.

Board of Regents Use Board of Regents on first reference, then Regents. No apostrophe in any
usage.

chairperson Do not use chairman or chairwoman. When possible, construct the sentence with
the verb "to head" instead of chairperson. For example, "John Doe, who heads the HIJC student
board, .. ."

cities in Kansas Do not use Kansas or Kan. after Kansas towns, unless they are likely to be
confused with big cities in other states, such as Minneapolis, Kan., and Kansas City, Kan.

coed do not use coed to refer to a female student. More descriptive uses of the word are
acceptable: coed softball, coed residence halls.

departments Athletic Department is uppercase, but don't capitalize academic departments
(department of history) unless a word normally would be capitalized (department of English,
department of History). Governmental departments appear as you normally see them:
Department of the Interior.

grade point average on first reference, then GPA.

Coffin Sports Complex on first reference, the Complex.

homecoming It is Homecoming Day, but homecoming.

Haskell Indian Nations University When referring to Haskell Indian Nations University use
Haskell

Identification: Faculty members are identified as thus, Rhonda LeValdo Instructor of Media
Communications. Professors who hold distinguished or named professorships should be
identified with their complete titles. Thus: John Doe, professor emeritus of history.

Haskell students are identified thus; John Doe, (Creek), Tulsa freshman. Put tribal affiliation in (
).

But, individuals should always be identified in a manner most appropriate to the context of the
story.
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The Indian Leader Leader on second reference.

names On second reference, normally use a person's last name only. First names may be used on
second reference in stories about children under the age of 10. In stories about several people
with the same last name, use first and last names to avoid confusion.

newspaper names Italicize names of newspapers and other publications.

quotes Avoid using colons to introduce quotes.

Representatives and Senators refer to AP Stylebook.

semesters When followed by a year, the season is capitalized. For example, Fall 1989. However,
fall semester is lowercase.

senators Identify student senators by the groups they represent or by their position in Senate,
whichever is more important. John Doe, Blalock senator.

sheriff's office Douglas County Sheriff's Office on first reference, then sheriff's office. Refer to
deputies as deputy sheriff.

streets Use AP Stylebook

theater Use this spelling except for proper names

time The order is time, day, place: 10 a.m. Friday in 141 Ross Hall.

titles In the title of a book a lecture or a play, don't capitalize an article (a, an, the), the "to" of an
infinitive, a preposition with fewer than five letters, or "and" as, but, if, nor, or," unless the word
is the first or the last word of the title. Capitalize the titles of all publications.

United States Except in quotes or editorial page copy, change America to United States and
American used as an adjective to U.S. wherever the meaning is the nation, not the hemisphere.
However, be reluctant to change American used as a noun to U.S. citizen; the meanings are not
necessarily synonymous.
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APPENDIX B                                                                 1




                                Appendix B



                         Settlement Agreement 1989
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